                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 MICHAEL OLIVER,

        Plaintiff,
                                                   Case No. 20-cv-12711
 vs.
                                                   Hon. Laurie J. Michelson
 CITY OF DETROIT, et al.,

        Defendants.
                                         /

                 AMERICAN CIVIL LIBERTIES UNION,
            AMERICAN CIVIL LIBERTIES UNION OF MICHIGAN,
                      AND ROBERT WILLIAMS’S
            MOTION FOR LEAVE TO FILE AMICI CURIAE BRIEF

       By this motion, the American Civil Liberties Union (“ACLU”), the American

Civil Liberties Union of Michigan, and Robert Williams (collectively, “amici”) seek

leave to file an amici curiae brief in support of Plaintiff Michael Oliver’s opposition

to Defendants’ motion for summary judgment. In support of this motion, amici state

as follows:

       1.     The ACLU is a nationwide, nonprofit, nonpartisan organization

dedicated to the principles embodied in the United States Constitution and our

nation’s civil rights laws. The ACLU of Michigan is a state affiliate of the ACLU.

The ACLU has appeared before courts throughout the country in cases involving the

dangers posed by unfettered police use of emerging technologies, including facial
recognition technology (“FRT”) and other biometric technologies. See, e.g., Lynch

v. State, No. SC19-298, 2019 WL 3249799 (Fla. 2019) (amicus brief addressing

government’s obligation to disclose information about FRT use to criminal

defendants); State v. Arteaga, No. A-003078-21T1 (N.J. App. Div., oral argument

scheduled for May 15, 2022) (same); Johnson v. VanderKooi, 983 N.W.2d 779

(Mich. 2022) (counsel in case holding that fingerprinting people during Terry stops

on the street is a Fourth Amendment search requiring a warrant); Carpenter v. United

States, 138 S. Ct. 2206 (2018) (counsel in case establishing that law enforcement

request for historical cell phone location information is a search requiring a warrant).

Attorneys associated with the ACLU and ACLU of Michigan represent Robert

Williams in Williams v. City of Detroit, et al., No. 2:21-cv-10827-LJM-DRG (E.D.

Mich.), currently pending before this Court, alleging that the misuse of facial

recognition technology led to his wrongful arrest.

      2.     Mr. Williams, a husband and father of two young girls, was arrested in

January 2020 based on misidentifications by flawed facial recognition technology

and by a non-eyewitness in a grossly unreliable photo lineup. His lawsuit against

Detective Donald Bussa and the City of Detroit is currently in discovery, with

dispositive motions due in October 2023. Mr. Williams’s experience is strikingly

similar to Mr. Oliver’s: both are Black men who were wrongly accused of and

arrested for a crime they did not commit because of the same Detroit Police



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Department (“DPD”) detective’s reliance on incorrect “matches” by facial

recognition algorithms. Because of the similarities between Mr. Williams’s and Mr.

Oliver’s cases, Mr. Williams has an interest in ensuring that the Court’s resolution

of this case does not prejudice resolution of his suit.

       3.       This case raises important issues surrounding police reliance on flawed

facial recognition technology in investigations. This case and Williams will likely

yield the first judicial opinions addressing some of the questions raised here relating

to FRT, and the Court’s decision could affect the lives of countless individuals.

       4.       In their proposed brief, amici provide additional information about risks

of police use of FRT and ways in which FRT use taints the reliability of subsequent

photographic lineups, which bolsters Plaintiff’s argument that the record in this case

presents genuine issues of material fact that should prompt the Court to deny

Defendants’ motion for summary judgment. Amici also explain the facts that have

been developed in the Williams case, which may further inform the Court’s decision

in this case.

       5.       As described in the proposed brief, the record in Williams will show

numerous similarities between the unconstitutional conduct in this case and in

Williams, including significant errors in Detective Bussa’s investigation and the

omission of material exculpatory information from the warrant application, resulting

in a wrongful arrest. The record in Williams also will demonstrate deficient or absent



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policies and failure to train on a number of areas critical to the investigative failures

in both Oliver and Williams, which supports the municipal liability claims in both

cases. Not only did the Detroit Police Department fail to train detectives like

Detective Bussa on FRT, but it required absolutely no training on any topic upon a

patrol officer’s promotion to detective. That means that in the investigations

underlying both this case and Williams, Detective Bussa was untrained on FRT,

algorithmic bias, photo lineup procedures, how to establish probable cause, the

obligation to include exculpatory information in warrant requests, and more. As the

proposed brief explains, that lack of training contributed to the unconstitutional

conduct in both cases.

      6.     Amici believe the information and argument in their proposed brief will

aid the Court by providing additional context surrounding the record developed in

Oliver and the arguments advanced in Plaintiff’s brief. See ECF No. 49.

      7.     As required by Local Rule 7.1(a), before filing this motion undersigned

counsel contacted counsel for Defendants and counsel for Mr. Oliver via email on

April 26, 2023, to seek their concurrence. Counsel for Mr. Oliver consents to the

filing of this brief. Counsel for Defendants has not responded as of the filing of this

motion. In the interest of avoiding delay in light of the briefing schedule in this case,

undersigned counsel is filing this motion now.




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      For these reasons, amici seek leave to file an amici curiae brief, and request

that the Court accept the accompanying brief as filed.


Dated: April 28, 2023                        Respectfully submitted,

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